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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF FLORIDA
                              TALLAHASSEE DIVISION



B.T., by and through her Next Friend,
Robin T., and A.G., by and
through his Next Friend, Susel S.,

             Plaintiff,                              Case No.: 4:22-cv-212-MW-MJF


v.

Simone Marstiller, in her official capacity
as Secretary for the AGENCY FOR
HEALTH CARE ADMINISTRATION,
             Defendant.
______________________________________/

                  MOTION FOR ADMISSION PRO HAC VICE

             Pursuant to Local Rule 11.1 of the U.S. District Court of the Northern

 District of Florida, Sarah Somers, counsel for Plaintiffs B.T. and A.G., moves this

 Court for an order allowing her to appear in this Court as co-counsel in this matter.

 In support of her motion, Ms. Somers states:

       1.     I have been retained to represent Plaintiffs as co-counsel in all

 proceedings conducted in this case.




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      2.      I am a member in good standing of the North Carolina State Bar.

My law practice address is National Health Law Program, 1512 E. Franklin St.,

Ste 110, Chapel Hill, NC 27514. I am also an active member in good standing of

the California State Bar and an inactive member in good standing of the Utah

State Bar.

      3.      A certificate of my good standing with the North Carolina State Bar

is attached to this motion.

      4.      I am not a Florida resident, a member of the Florida Bar, nor do I

maintain a law practice in Florida. I have not maintained a regular practice of law

in Florida.

      5.      I have previously been admitted to the Northern District of Florida

pro hac vice and successfully completed the Attorney Admission Tutorial.

      6.      I have reviewed and will comply with the Local Rules of the United

States District Court of the Northern District of Florida.

      7.      I will maintain with the clerk a current telephone number, mailing

address, and email address.

      8.      I will comply with, and remain familiar with, the ethical requirements

of The Florida Bar.

      /




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      WHEREFORE, Sarah Somers respectfully request this Court enter an Order

admitting her to practice before this Court pro hac vice.

      Respectfully Submitted this 17th day of June, 2022.



                                       s/Sarah Somers
                                       Sarah Somers
                                       North Carolina Bar No. 33165
                                       National Health Law Program
                                       1512 E. Franklin St., Ste 110
                                       Chapel Hill, NC 27514
                                       Telephone: (919) 968-6308
                                       somers@healthlaw.org




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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 22nd day of August, 2021, I

electronically filed the foregoing Motion for Admission Pro Hac Vice with the

Clerk of Court using the CM/ECF system which will send a notice of electronic

filing to all counsel or record.

                                      s/Sarah Somers
                                     Sarah Somers
                                     North Carolina Bar No. 33165
                                     National Health Law Program
                                     1512 E. Franklin St., Ste 110
                                     Chapel Hill, NC 27514
                                     Telephone: (919) 968-6308
                                     somers@healthlaw.org




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            I, Alice Neece Mine, Secretary of the North Carolina State Bar, do hereby certify that

                                       Sarah Jane Somers (Bar # 33165)
             was licensed to practice law by the State of North Carolina on September 10, 2004.

Said lawyer is presently an active member of the North Carolina State Bar and is eligible to practice law in North

                                                    Carolina.
           Said lawyer is not subject to a pending order of administrative or disciplinary suspension.

                          Said lawyer's financial account with the State Bar is current.

                 Therefore, said lawyer is in good standing with the North Carolina State Bar.
         Given over my hand and the Seal of the North Carolina State Bar, this the 17th of June, 2022.




                                               Alice Neece Mine
                                    Secretary of the North Carolina State Bar
